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1                              UNITED STATES DISTRICT COURT

2                                     DISTRICT OF NEVADA

3     JOSHUA H. CRITTENDON,                               Case No. 2:20-cv-02062-GMN-VCF

4                                        Plaintiff,                  ORDER
             v.
5
      AHJALEE COOPER,
6
                                      Defendant.
7

8    I.     DISCUSSION

9           On August 12, 2021, this Court entered an order permitting this action to proceed

10   against Defendant Cooper solely on Plaintiff’s First Amendment claim of retaliation and

11   Eighth Amendment claim of excessive force. (ECF No. 10 at 1). The Court stayed the

12   case for 90 days to give Plaintiff and Defendant Cooper an opportunity to settle their

13   dispute before the filing fee was paid, an answer was filed, or the discovery process

14   began. (Id. at 2). The Court directed the Attorney General’s Office to notify the Court

15   whether it would enter a limited notice of appearance on behalf of Defendant Cooper for

16   the purpose of settlement. (Id. at 3).

17          On September 2, 2021, the Attorney General’s Office informed the Court that it

18   could not make a limited appearance for the purpose of settlement because Defendant

19   Cooper, the only remaining defendant in this action, was no longer employed by the

20   Nevada Department of Corrections (“NDOC”). (ECF No. 11 at 1). The Attorney General’s

21   Office explained that it could not appear on behalf of Defendant Cooper because she had

22   not requested representation from the Office, and she did not agree to have them

23   represent her when she left the NDOC. (Id. at 1-2).

24          In light of that notice, the Court now orders the Attorney General’s Office to send

25   a letter to Defendant Cooper at her last known address informing her that she is a

26   defendant in this lawsuit. In that letter, the Attorney General’s Office will ask Defendant

27   Cooper if she would like the Office to represent her in this matter. Within 30 days from

28   the date of this order, the Attorney General’s Office will file an updated notice with the

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1    Court informing the Court whether it will be entering a limited notice of appearance on

2    behalf of Defendant Cooper for the purpose of settlement in light of that letter.

3           If the Attorney General’s Office enters a limited notice of appearance on behalf of

4    Defendant Cooper for the purpose of settlement, the Court will schedule an early inmate

5    mediation conference. However, if the Attorney General’s Office notifies the Court that it

6    will not be entering a limited notice of appearance in light of its communication with

7    Defendant Cooper, the Court will issue an order that: (1) removes this case from the early

8    inmate mediation program, (2) rules on the application to proceed in forma pauperis, and

9    (3) begins the service process with the U.S. Marshal’s Office.

10   II.    CONCLUSION

11          For the foregoing reasons, IT IS ORDERED that the Attorney General’s Office will

12   send a letter to Defendant Cooper at her last known address informing her of this lawsuit

13   and asking whether she seeks to have the Office represent her for the limited purpose of

14   settlement.

15          IT IS FURTHER ORDERED that, within 30 days from the date of this order, the

16   Attorney General’s Office will file an updated notice with the Court informing the Court

17   about Defendant Cooper’s representation status.

18          IT IS FURTHER ORDERED that, within 30 days from the date of this order, the

19   Attorney General’s Office will advise the Court whether it will enter a limited notice of

20   appearance on behalf of Defendant Cooper for the purpose of settlement. No defenses

21   or objections, including lack of service, will be waived as a result of the filing of the limited

22   notice of appearance.

23          IT IS FURTHER ORDERED that, if the Attorney General’s Office does not receive

24   authorization to represent Defendant Cooper and does not enter a limited notice of

25   appearance, within 30 days the Office will file, under seal, but will not serve the inmate

26   Plaintiff, the last known address of Defendant Cooper. If the last known address of the

27   defendant is a post office box, the Attorney General's Office will attempt to obtain and

28   provide the last known physical address.

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1          IT IS FURTHER ORDERED that, if this case remains in the early inmate mediation

2    program, the Court extends the 90-day stay and the deadline for the 90-day stay status

3    report until 5 days after any scheduled mediation.

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5                      21st
           DATED THIS ___ day of October 2021.
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7                                                    United States Magistrate Judge
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